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                      MICHAEL UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION


 FORTRA LLC and ECRIME
 MANAGEMENT STRATEGIES, INC. d/b/a
 PHISHLABS,

                 Plaintiffs,
                                                 Case No.: 2:25-cv-03783-DCN
            v.

 DOPPEL INC. and PATRICK LELAND,

                 Defendants.


                               SUMMONS RETURNED EXECUTED

       Service of the Summons, Complaint, Exhibits 1-12, and Plaintiff’s Answers to Local

Civil Rule 26.01 Interrogatories was made on Defendant Patrick Leland on the 14th day of May,

2025 as evidenced by the attached Proof of Service.


       Respectfully submitted this 29th day of May 2025.

                                                  OGLETREE, DEAKINS, NASH, SMOAK
                                                    & STEWART, P.C.

                                                  s/ Michael Oliver Eckard
                                                  Michael Oliver Eckard (Fed. ID # 12055)
                                                  211 King Street, Suite 200
                                                  Charleston, SC 29401
                                                  Phone: 843.853.1300
                                                  Facsimile: 843.853.9992
                                                  michael.eckard@ogletree.com

                                                  Attorneys for Plaintiff
